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                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION


UNITED STATES OF AMERICA       )
                               )
           v.                  )                 No. 02 CR 1050
                               )                 Hon. James B. Zagel
JOSEPH LOMBARDO, also known as )
     “The Clown”               )


             GOVERNMENT’S RESPONSE TO DEFENDANT’S
        MOTION TO VACATE SPECIAL ADMINISTRATIVE MEASURES

        The UNITED STATES OF AMERICA, by ZACHARY T. FARDON, United

States Attorney for the Northern District of Illinois, hereby submits this response in to

defendant Joseph Lombardo’s motion to vacate special administrative measures

(“SAM”) imposed upon him at the direction of the Attorney General.

                                      ARGUMENT

               This Court Does Not Have Jurisdiction Over the Motion.

        This is not the first time defendant Lombardo has previously asked this Court to

vacate the special administrative measures imposed on him.        He did so by a letter to

the Court earlier this year.   At that time, this Court denied the request, and said: “I do

not have the authority to enter such an order. If any court has such authority, it would

be the district court in which the institution is located, which is not this district.”   R.

1539.

        The Court’s earlier decision, which is overlooked in the defendant’s most motion

requesting the very same relief, remains correct.        Indeed, the defendant cites no

authority whatsoever for the relief he seeks from this Court.    This Court’s judgment is
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final and it no longer has jurisdiction.   The defendant does not claim that habeas corpus

statutes supply the requisite jurisdiction to this Court, nor could he.      Robinson v.

Sherrod, 631 F.3d 839, 840-41 (7th Cir. 2011) (collecting cases).         These sorts of

challenges, when amenable and ripe for adjudication, are presented in a fresh complaint

in the district of confinement, not in a motion in a terminated case in the district of

conviction. E.g., United States v. Al-Owhali, 687 F.3d 1286 (10th Cir. 2012) (defendant

convicted in the Southern District of New York and confined in the United States

Penitentiary, Administrative Maximum in Florence, Colorado, filed suit in the District

of Colorado).

          But the defendant does not even properly allege that this matter is ripe for

federal court review in any forum, let alone this one.        In addition to the obvious

jurisdictional problem noted above, the defendant does not contend that he has

exhausted his administrative remedies.         See 28 C.F.R. § 501.3(e) (specifying that

challenges to special administrative measures are subject to Administrative Remedy

Program, 28 C.F.R. Part 542). See also 42 U.S.C. § 1997e (prohibiting federal court

action challenging conditions of confinement prior to exhaustion); United States v.

Troya, No. 06-80171-Cr, 2008 WL 2537145, at *3-4 (S.D. Fla. June 24, 2008) (collecting

cases).    A preliminary inquiry at the defendant’s institution has not turned up any such

administrative challenge.    As such, the motion should be dismissed.




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         WHEREFORE, the government respectfully requests that the Court enter an

order (i) dismissing the Motion; and (ii) granting such other and further relief as may be

just and proper.

Dated:        Chicago, Illinois
              January 17, 2014


                                                Respectfully submitted.

                                                ZACHARY T. FARDON
                                                United States Attorney


                                             By: /s/ Amarjeet S. Bhachu
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                        CERTIFICATE OF SERVICE

       Amarjeet S. Bhachu, an Assistant United States Attorney assigned to the
instant matter, hereby certifies that the GOVERNMENT’S RESPONSE TO
DEFENDANT’S MOTION TO VACATE SPECIAL ADMINISTRATIVE
MEASURES was served on January 17, 2014, in accordance with FED. R. CRIM. P. 49,
FED. R. CIV. P. 5, LR 5.5, and the General Order on Electronic Case Filing (ECF)
pursuant to the district court’s system as to ECF filers.



                                            /s/ Amarjeet S. Bhachu
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